
PER CURIAM.
After reviewing the briefs and record on appeal, we find appellant has failed to demonstrate any reversible error; therefore, the judgment appealed is affirmed. However, the judgment and sentence of the court, while indicating that appellant was to receive credit for all time served in jail, does not specifically set forth the period of credit time to be allowed as required by Section 921.161(1), Florida Statutes (1975). Smith v. State, 310 So.2d 770 (Fla.2d DCA 1975). In addition, the language ordering appellant to be confined “at hard labor” is improper because no existing state statute provides for its imposition as a sentence for any offense. Brooks v. State, 349 So.2d 794 (Fla.2d DCA 1977).
Remanded for correction of the sentence; otherwise affirmed. Appellant need not be present for this purpose.
GRIMES, Acting C. J., and SCHEB and DANAHY, JJ., concur.
